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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §   CRIMINAL ACTION NO. C-11-117-02
                                             §
SAMUEL DAVID LEDESMA; aka                    §
LEDESMA

                    ORDER OF DETENTION PENDING TRIAL

       The defendant appeared in open court with counsel and waived the right, without

prejudice, to a detention hearing pursuant to Bail Reform Act, 18 U.S.C. § 3142(f).

Accordingly, the defendant is ordered detained without bond pending trial.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 22nd day of February, 2011.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




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